     Case: 3:15-cv-00094-MPM-SAA Doc #: 20 Filed: 09/28/15 1 of 4 PageID #: 112



                        IN THE UNITED STATES DISTRICT COURT
                       OF THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION

MARCUS STARKS;
APRIL STARKS                                                                      PLAINTIFFS

VERSUS                                          CIVIL ACTION NO. 3:15-CV-00094-MPM-SAA

DEPUTY AUSTIN KEYS, BADGE #27,
in his individual capacity                                                         DEFENDANT

                    REBUTTAL TO PLAINTIFF’S RESPONSE TO
             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT [DOC. 17]

       COMES NOW, Defendant Keys, and files this his Rebuttal in Support of Motion for

Summary Judgment for the following reasons, to-wit:

       1.        Plaintiffs’ claims fail due to Marcus Starks prolonging the stop.

       Plaintiff Marcus Starks admits in his Affidavit1 that he made a request to speak with Keys’

supervisor because he did not believe Keys had a right to run warrant checks on the identifications

of other passengers. As stated in Defendant’s initial Memorandum brief, Plaintiffs cannot now come

forward and argue that the time of the stop was unreasonable when it was due to a delay caused by

Marcus Starks’s disagreement with a law enforcement officer’s command. This position is also

supported by the Affidavit of April Starks who affirmed that Plaintiff Marcus Starks requested to talk

to Keys’ supervisor, Monolito Felix2. Tunica County deputies, in an effort to satisfy Mr. Starks,

contacted Captain Felix and requested him to come to the scene. This added more than 20 minutes


       1
         See Plaintiffs’ Response [Doc. 18] at page 3: “Marcus objected, saying he did not
believe the officer had the right to do that (run the driver’s license of Marcus). Keys insisted he
did have that right. Marcus said he wanted to ask Keys’ shift supervisor if that was true.”; See
also Exhibit 3 to Plaintiffs’ MSJ Response [Doc. 19] at paragraphs 7-10;
       2
           See Exhibit 4 to Plaintiffs’ MSJ Response, at paragraph 14.

                                                  1
     Case: 3:15-cv-00094-MPM-SAA Doc #: 20 Filed: 09/28/15 2 of 4 PageID #: 113



to the traffic stop. In short, Tunica County did not detain Marcus Starks so a supervisor could come

and deal with the situation. Marcus Starks asked for the supervisor. As Rodriguez makes clear,

absent reasonable suspicion, police extension of a traffic stop in order to conduct a dog sniff (and

presumably other reasons) violates the Constitution’s shield against unreasonable seizures. Here,

there was no police extension of the traffic stop. The extension was caused by the occupants in the

vehicle who were not cooperating with the officer and requested to see a supervisor. Rodriguez v.

United States, 135 S. Ct. 1609 (U.S. 2015). As a result, the claim of passenger Plaintiff April Starks

also fails because she was detained not by the officer, but by Marcus Starks’s request to see a

supervisor.

        2.        Officers had reasonable suspicion to continue to detain the vehicle.

        In addition to, and unlike the facts of Rodriguez, Officer Keys in this instance had reasonable

suspicion to continue to detain the suspects, even if the ticket was given to Marcus Starks prior to

the request by Marcus Starks to see a supervisor (i.e. this is assuming arguendo that the traffic stop

is viewed as “completed”). The plates on the car did not match, and the occupants in the car were

not its registered owners. Officers have authority to address the traffic violation that warranted the

stop and attend to related safety concerns. Illinois v. Caballes, 543 U. S. 405, 407, 125 S. Ct. 834,

160 L. Ed. 2d 842 (2005). The fact that Marcus Starks was getting angry and disrespectful is a

related safety concern.3 The fact the Mr. Starks also failed to put the car in park and it rolled forward

also raised an alert with the officers. Officer Keys had to yell to Starks to put the car in park, and

approached slowly.4


        3
            See [Doc. 12-2], Exhibit B to MSJ, TCSO Offense/Incident Report, at page 1.
        4
            See [Doc. 12-2], Exhibit B to MSJ, TCSO Offense/Incident Report, at page 1.

                                                  -2-
     Case: 3:15-cv-00094-MPM-SAA Doc #: 20 Filed: 09/28/15 3 of 4 PageID #: 114



        Granted, Plaintiffs take great pains to point out in their Response brief that it was “patently

obvious” that the dispatch about the inconsistent car tag was not relied upon to justify a demand to

run the driver’s licenses of the passengers.5 However, this is speculation on the part of the Plaintiffs.

While it is true there is no mention of the incorrect plates on the vehicle in the Incident Report, the

Radio Log is clear that the plates were incorrect, and the owners of said plates were not occupying

the vehicle. Officers do not have to articulate to the suspect at the time of the traffic stop a definitive

list of actions which create “reasonable suspicion.”

        RESPECTFULLY SUBMITTED this 28th day of September, 2015.

                                                 DEPUTY AUSTIN KEYS, BADGE #27,
                                                 in his individual capacity


                                                 By: /s/ Michael S. Carr
                                                     Daniel J. Griffith, MSB #8366
                                                     Michael S. Carr, MSB #102138
                                                    Attorneys for Defendant


Of Counsel:

GRIFFITH & CARR
123 South Court Street
P. O. Drawer 1680
Cleveland, MS 38732
Telephone: 662-843-6100
Facsimile: 662-843-8153
Email: mcarr@griffithcarr.com




        5
            See [Doc. 18] at page 13.

                                                   -3-
     Case: 3:15-cv-00094-MPM-SAA Doc #: 20 Filed: 09/28/15 4 of 4 PageID #: 115



                                 CERTIFICATE OF SERVICE

       I, Michael S. Carr, counsel for Defendant, Deputy Keys, in the above case, do hereby certify

that I have this day caused a true and correct copy of the above and foregoing Rebuttal to Plaintiffs’

Response to Defendant’s MSJ to be delivered by ECF filing system to:

                                       Ronald W. Lewis
                                       RONALD W. LEWIS, ATTORNEY
                                       404 Galleria Lane, Ste. 5
                                       Oxford, MS 38655
                                       Phone: (662) 234-0766
                                       Email: ron@ronlewislaw.com
                                       Attorney for Plaintiff

       FILED this 28th day of September, 2015.

                                                       /s/ Michael S. Carr
                                                       Michael S. Carr




                                                 -4-
